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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA,                       §
                                                §
                                                §
                                                §
v.                                              §                 No. 4:22-CR-00612-S
                                                §
                                                §
                                                §
EDWARD CONSTANTINESCU, et al.                   §
                                                §

                UNOPPOSED MOTION FOR PERMISSION TO TRAVEL

       Edward Constantinescu respectfully requests this Court grant him permission to travel to

Austin, Texas to attend a wedding celebration from July 21 to July 23, 2023. Mr. Constantinescu

has provided Pretrial Services with all travel information, pre-trial services has approved this

travel, and the government does not oppose this request.



Dated: July 18, 2023                                       Respectfully submitted,

                                                           /s/ Matthew A. Ford
                                                           Matthew A. Ford
                                                           Texas Bar No. 24119390
                                                           Ford O’Brien Landy LLP
                                                           3700 Ranch Road 620 South, Suite B
                                                           Austin, Texas 78738
                                                           Telephone: (212) 858-0040
                                                           Facsimile: (212) 256-1047
                                                           mford@fordobrien.com

                                                           Attorney for Defendant
                                                           Edward Constantinescu




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                             CERTIFICATE OF CONFERENCE

       On July 18, 2023, the undersigned communicated with the Government who indicated they

did not oppose the Motion.

                                                          /s/ Matthew A. Ford
                                                          Matthew A. Ford


                               CERTIFICATE OF SERVICE

       I hereby certify that on July 18, 2023, a true and correct copy of the foregoing document

has been forward via electronic mail to the government.

                                                          /s/ Matthew A. Ford
                                                          Matthew A. Ford




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